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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 23-24670-CIV-LENARD/DAMIAN

  SHANTE REESE,

                 Plaintiff,

         v.

  ALORICA, INC.,

              Defendant.
  _____________________________________/

                      [PROPOSED] ORDER SCHEDULING MEDIATION

         The mediation conference in this matter shall be held with Robyn S. Hankins, Esq., on

  June 11, 2024, at 10:00 a.m., via Zoom or other comparable video conferencing technology. This

  date has been agreed to by the Mediator and the Parties and shall not be rescheduled without leave

  of Court.

         Within seven (7) days following the mediation conference, the mediator shall file a

  Mediation Report indicating whether all required parties were present. The report shall also

  indicate whether the case settled (in full or in part), was continued with the consent of the parties,

  or whether the mediator declared an impasse.
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        DONE AND ORDERED in Chambers at Miami, Florida on this ___ day of

        , 2024.



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                                 JOAN A. LENARD
                                 UNITED STATES DISTRICT JUDGE
